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                            UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division

JOSE MOSQUERA

                               Plaintiff,

                                                              Civil Action No. hLA C IV.573
MCCABE WEISBERG & CONWAY, LLC                                                            Cmh/j c6
SERVE: Corporation Service Company
       Bank of America Center, 16,h Fir.
            HUE Main Street
            Richmond, VA 23219

        and


SURETY TRUSTEES, LLC
SERVE: Todd Fisher
            REO Solutions, LLC
            4021 University Drive, Ste 202
            Glen Allen, VA 22030

                               Defendants.



                      COMPLAINT AND DEMAND FOR JURY TRIAL

                                        INTRODUCTION


       1.       This is an action seeking damages arising from Defendants' unlawful attempts to
collect a delinquent home mortgage debt allegedly owed by Mr. Mosquera and to foreclose on
the subject Deed of Trust. Mr. Mosquera alleges that Defendants, a debt collection law firm and

its collection-purposed Trustee, 1) initiated foreclosure activities when they had no present right
to possession ofthe property, 2) knowingly made a series of false statements and representations
in connection with the collection ofthe debt and ofthe attempted foreclosure on his home, and 3)
failed to identify the name of thecreditor to whom the debt was owed, all in violation of the Fair

Debt Collections Practices Act ("FDCPA"), 15 U.S.C §§1692 etsea.
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